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                     Exhibit 46
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                             IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                     CHARLESTON DIVISION

 B.P.J, by her next friend and mother, HEATHER
 JACKSON
                         Plaintiff,
          v.
 WEST VIRGINIA STATE BOARD OF
 EDUCATION, HARRISON COUNTY BOARD
 OF       EDUCATION,         WEST      VIRGINIA                 Case No. 2:21-cv-00316
 SECONDARY            SCHOOL         ACTIVITIES
 COMMISSION, W. CLAYTON BURCH in his
 official capacity as State Superintendent, DORA                Hon. Joseph R. Goodwin
 STUTLER in her official capacity as Harrison
 County Superintendent, and THE STATE OF
 WEST VIRGINIA
                       Defendants,
    and
 LAINEY ARMISTEAD,
                       Defendant-Intervenor.

                    INTERVENOR LAINEY ARMISTEAD’S
        FIRST SUPPLEMENTAL DISCLOSURES PURSUANT TO RULE 26(A)(1)

        Pursuant to Fed. R. Civ. P. 26(a)(1), Intervenor Lainey Armistead submits her first

supplemental disclosures.

   I.          Individuals likely to have discoverable information.

        Armistead discloses the following individuals likely to have discoverable information

that may be used to support her claims.


        1. Lainey Armistead
           c/o Christiana Holcomb
           Alliance Defending Freedom
           440 First Street NW, Suite 600
           Washington, DC 20001
           (202) 393-8690
               Lainey Armistead may have discoverable information pertaining to the facts and



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        issues set forth within Intervenor Lainey Armistead’s Memorandum in Support of

        Her Motion for Intervene, including, but not limited to, Armistead’s experiences

        playing soccer growing up, the several benefits of participating in a team sport, her

        experience in competing at the collegiate level against female athletes, and the

        expected impact competing against males would have, on her and others.


     2. B.P.J.
        c/o Loree Stark
        American Civil Liberties Union of West Virginia Foundation
        P.O. Box 3952
        Charleston, WV 25339-3952
        (914) 393-4614

        B.P.J. is likely to have discoverable information pertaining to this case, including, but

        not limited to the allegations within Plaintiff’s First Amended Complaint.

     3. Heather Jackson
        c/o Loree Stark
        American Civil Liberties Union of West Virginia Foundation
        405 Capitol Street
        Suite 507
        Charleston, WV 25301
        (914) 393-4614

        Heather Jackson is likely to have discoverable information pertaining to this case,

        including, but not limited to the allegations within Plaintiff’s First Amended

        Complaint.

     4. Person Most Knowledgeable
        West Virginia State Board of Education
        c/o Kelly C. Morgan
        c/o Kristen Vickers Hammond
        c/o Michael W. Taylor
        Bailey & Wyant
        P.O. Box 3710
        Charleston, WV 25337-3710

        The person most knowledgeable of the West Virginia State Board of Education is

        likely to have discoverable information pertaining to general matters relating to this

        case, including the adoption of West Virginia Code § 18-2-25d (“the Sports Act”),


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        and policies of West Virginia State Board of Education.

     5. Person Most Knowledgeable
        Harrison County Board of Education
        c/o Susah L. Deniker
        Steptoe & Johnson
        400 White Oaks Blvd.
        Bridgeport, WV 26330

        The person most knowledgeable of the Harrison County Board of Education is likely

        to have discoverable information pertaining to general matters relating to this case,

        including the adoption of the Sports Act, and policies of Harrison County Board of

        Education.

     6. Person Most Knowledgeable
        West Virginia Secondary School Activities Commission
        c/o Anthony E. Nortz
        Shuman McCusky & Slicer
        P.O. Box 3952
        Charleston, WV 25339

        The person most knowledgeable of the West Virginia Secondary School Activities

        Commission is likely to have discoverable information pertaining to general matters

        relating to this case, including the adoption of the Sports Act, and policies of West

        Virginia Secondary School Activities Commission.

     7. W. Clayton Burch, in his capacity of State Superintendent
        c/o Kelly C. Morgan
        c/o Kristen Vickers Hammond
        c/o Michael W. Taylor
        Bailey & Wyant
        P.O. Box 3710
        Charleston, WV 25337-3710

        Mr. Burch is likely to have discoverable information pertaining to general matters

        relating to this case, including the adoption of the Sports Act, and policies of and as

        State Superintendent.

     8. Dora Stutler, in her official capacity as Harrison County Superintendent
        c/o Susah L. Deniker
        Steptoe & Johnson


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        400 White Oaks Blvd.
        Bridgeport, WV 26330
        Dora Stutler is likely to have discoverable information pertaining to general matters

        relating to this case, including the adoption of the Sports Act, and policies of and as

        Harrison County Superintendent.

     9. Patrick Morrissey, in his official capacity as Attorney General
        c/o Curtis R. Capehart
        WV Attorney General’s Office
        Building 1, Room 26e
        1900 Kanawa Boulevard, East
        Charleston, WV 25305

        Mr. Morrissey is likely to have discoverable information pertaining to general matters

        relating to this case, including the adoption of the Sports Act, and policies of and as

        Attorney General.

     10. Person Most Knowledgeable
         The State of West Virginia
         c/o Curtis R. Capehart
         WV Attorney General’s Office
         Building 1, Room 26e
         1900 Kanawa Boulevard, East
         Charleston, WV 25305

        The person most knowledgeable of the State of West Virginia is likely to have

        discoverable information pertaining to general matters relating to this case, including

        the adoption of the Sports Act, and policies of the State of West Virginia.

     11. Selina Soule
         c/o Christiana Holcomb
         Alliance Defending Freedom
         440 First Street NW, Suite 600
         Washington, DC 20001
         (202) 393-8690
        Selina Soule may have discoverable information pertaining to the facts and issues set

        forth in this case, including the benefits of competing in girls-only sports, the

        experience of competing against two male athletes in girls’ high school track and

        field, and the impact it had on her and other female competitors.




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     12. Chelsea Mitchell
         c/o Christiana Holcomb
         Alliance Defending Freedom
         440 First Street NW, Suite 600
         Washington, DC 20001
         (202) 393-8690
        Chelsea Mitchell may have discoverable information pertaining to the facts and issues

        set forth in this case, including the benefits of competing in girls-only sports, the

        experience of competing against two male athletes in girls’ high school track and

        field, and the impact it had on her and other female competitors.

     13. Christina Mitchell
         c/o Christiana Holcomb
         Alliance Defending Freedom
         440 First Street NW, Suite 600
         Washington, DC 20001
         (202) 393-8690
        Christina Mitchell may have discoverable information pertaining to the facts and

        issues set forth in this case, including the benefits of competing in girls-only sports,

        her daughter’s experience competing against male athletes in girls’ high school track

        and field, and the impact it had on her and other female competitors.

     14. Alanna Smith
         c/o Christiana Holcomb
         Alliance Defending Freedom
         440 First Street NW, Suite 600
         Washington, DC 20001
         (202) 393-8690
        Alanna Smith may have discoverable information pertaining to the facts and issues

        set forth in this case, including the benefits of competing in girls-only sports, the

        experience of competing against a male athlete in girls’ high school track and field,

        and the impact it had on her and other female competitors.

     15. Linnea Saltz
         4114 Davis Place, Northwest, Unit 207
         Washington DC 20007
         (702) 523-0545
        Linnea Saltz may have discoverable information pertaining to the facts and issues set



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         forth in this case, including the benefits of competing in girls-only sports, the

         experience of competing against a male athlete in girls’ college track and field, and

         the impact it had on her, and other female competitors.

      16. Margaret O’Neal
          917 Kana Place
          Lahaina, Hawaii 96761
          (808) 280-4423
         Margaret O’Neal may have discoverable information pertaining to the facts and

         issues set forth in this case, including the benefits of competing in girls-only sports,

         the deflating experience of competing against a male athlete in girls’ high school

         track and field, and the impact it had on her and other female competitors.

      17. Cynthia Monteleone
          917 Kana Place
          Lahaina, Hawaii 96761
          (808) 280-4423
         Cynthia Monteleone may have discoverable information pertaining to the facts and

         issues set forth in this case, including the benefits of competing in girls-only sports,

         her daughter’s experience of competing against a male athlete in girls’ high school

         track and field, and the impact it had on her and other female competitors.


       18. Madison Kenyon
         c/o Christiana Holcomb
         Alliance Defending Freedom
         440 First Street NW, Suite 600
         Washington, DC 20001
         (202) 393-8690
         Madison Keyon may have discoverable information pertaining to the facts and issues

         set forth in this case, including the benefits of competing in girls-only sports, the

         experience of competing against a male athlete in women’s college track and field

         and cross-country and the impact it had on her, and other female competitors.



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        19. Mary Kate Marshall
            c/o Christiana Holcomb
            Alliance Defending Freedom
            440 First Street NW, Suite 600
            Washington, DC 20001
            (202) 393-8690
           Mary Kate Marshall may have discoverable information pertaining to the facts and

           issues set forth in this case, including the benefits of competing in girls-only sports,

           the experience of competing against a male athlete in women’s college track and field

           and cross-country and the impact it had on her, and other female competitors.

        20. Darcy Aschoff
            540 W. 700 South,
            Lehi Utah, 84043
            (702) 769-4287
           Darcy Aschoff may have discoverable information pertaining to the facts and issues

           set forth in this case, including the benefits of competing in girls-only sports, her

           daughters’ experience competing against a male athlete in girls’ high school

           volleyball and the impact it had on her daughters and other female competitors.

        21. Female athletes on the University of Pennsylvania women’s swimming and diving
            team
            University of Pennsylvania
            Philadelphia, PA 19104
            215-898-5000

           Female swimmers on the University of Pennsylvania swimming and diving team may

           have discoverable information pertaining to the facts issues set forth in this case,

           including the benefits of competing in girls-only sports, the experience of competing

           against a male athlete in women’s collegiate swimming and the impact it had on them

           and other female competitors.




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     22. Haley Tanne
         current address unknown
         (801) 796-3235

        Haley Tanne may have discoverable information pertaining to the facts and issues set

        forth in this case, including the benefits of competing in girls-only sports, the

        experience of competing against a male athlete in women’s college track and field

        and cross-country and the impact it had on her, and other female competitors.



     23. The following girls and women may have discoverable information pertaining to the

        facts issues set forth in this case, including the benefits of competing in female-

        only sports, the experience of competing against a male athlete in women’s

        sports and the impact it had on them and other female competitors. The contact

        information for these girls and women is unknown.

            •   Anna Cameron, College of Siskiyous in 2012

            •   Shyanna Ashworth, College of the Siskiyous in 2012

            •   Brianne Burnside, College of the Siskiyous in 2012

            •   Carrie Watson, College of the Siskiyous in 2012

            •   Hailey Wales, College of the Siskiyous in 2012

            •   Mariia Rachiteleva, Los Angeles THC Women in 2022

            •   Katiana Sladanha, Los Angeles THC Women in 2022

            •   Patricia Fernandez, Los Angeles THC Women in 2022

            •   Sabrina Mcgauran, Los Angeles THC Women in 2022

            •   Natallia Zhelnova, Los Angeles THC Women in 2022

            •   Robyn Hargrove, competed in 2011 Border States Classic

            •   Maikayla Malaspina, Northern AZ women’s track & field team in 2020

            •   Malaina Thacker, Idaho State women’s track & field team in 2020

            •   Molly Olsen, Idaho State women’s track & field team in 2020

            •   Pipi Eitel, Northern Arizona women’s track & field team in 2020


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                 •   Dawn Orwick, competed in Masters Track World Championship in 2019

                 •   Kristen Herup Sovange, competed in Masters Track World Championship in

                     2019

                 •   Kanani Lodge, 2022 DLS World Rankings

                 •   Katie Calderon, 2022 DLS World Rankings

                 •   Tamikka Brents, MMA fighter in 2014

                 •   Heather Bassett, XFO 50: Xtreme Fighting Organization 50

                 •   Ashlee Evans-Smith, CFA 12: Championship Fighting Alliance 12
                 •   Allanna Jones, CFA 11: Kyle v Wiuff

                 •   Erika Newsome, CFA: 10 McSweeney vs. Staring



   II.       Documents and tangible items.

          Armistead points to L.Armistead__000001-000169 and the forthcoming Defendants’

expert reports, and reserves the right to rely on documents produced by the other parties in this

case to support her claims and defenses.



   III.      Computation of damages.

          Armistead seeks an award of attorneys’ fees pursuant to 42 U.S.C. §1988. Armistead

reserves the right to supplement this response.



   IV.       Insurance Agreements.

          Not applicable.




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      Dated this 11th day of February, 2022.

                                                /s/ Brandon S. Steele
                                                Brandon S. Steele, WV Bar No. 12423
                                                Joshua D. Brown, WV Bar No. 12652
                                                The Law Offices of Brandon S. Steele
                                                3049 Robert C. Byrd Drive, Suite 100
                                                Beckley, WV 25801
                                                (304) 253-1230
                                                (304) 255-1520 Fax
                                                bsteelelawoffice@gmail.com
                                                joshua_brown05@hotmail.com

                                                Jonathan Scruggs, AZ Bar No. 030505*
                                                Roger G. Brooks, NC Bar No. 16317*
                                                Henry W. Frampton, IV, SC Bar No. 75314*
                                                Alliance Defending Freedom
                                                15100 N. 90th Street
                                                Scottsdale, AZ 85260
                                                (480) 444-0020
                                                (480) 444-0028 Fax
                                                jscruggs@adflegal.org
                                                rbrooks@adflegal.org
                                                hframpton@adflegal.org

                                                Christiana Holcomb, DC Bar No. 176922*
                                                Alliance Defending Freedom
                                                440 First Street NW, Suite 600
                                                Washington, DC 20001
                                                (202) 393-8690
                                                (202) 347-3622 Fax
                                                cholcomb@adflegal.org

                                                Rachel A. Csutoros, MA Bar No. 706225*
                                                Alliance Defending Freedom
                                                44180 Riverside Parkway
                                                Lansdowne, VA 20176
                                                (571) 707-4655
                                                (571) 707-4790 Fax
                                                rcsutoros@adflegal.org

                                                Timothy D. Ducar, AZ Bar No. 015307*
                                                Law Offices of Timothy D. Ducar, PLC
                                                7430 E. Butherus Drive, Suite E
                                                Scottsdale, AZ 85260
                                                (480) 502-2119
                                                (480) 452-0900 Fax
                                                tducar@azlawyers.com

                                                *Visiting Attorneys
                                                 Attorneys for Defendant-Intervenor



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